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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

                                                                                   Morning Session:
                                                                                 Set: 9:30 AM (AST)
                                                                             Started: 9:39 AM (AST)
                                                                             Ended: 12:12 PM (AST)

                                                                                 Afternoon Session:
                                                                                 Set: 1:15 PM (AST)
                                                                             Started: 1:21 PM (AST)
                                                                              Ended: 3:00 PM (AST)
MINUTES OF PROCEEDINGS
BEFORE U.S. DISTRICT JUDGE LAURA TAYLOR SWAIN
MAGISTRATE JUDGE JUDITH G. DEIN                                  DATE: July 25, 2018
COURTROOM DEPUTY: Carmen Tacoronte
COURT REPORTER: Amy Walker

 In Re:

 The Financial Oversight and Management      3:17-BK-3283 (LTS)
 Board for Puerto Rico

 as representative of
                                             (Jointly Administered)
 The Commonwealth of Puerto Rico, et al.
 Debtors.




 Siemens Transportation Partnership Puerto   3:18-AP-030 (LTS)
 Rico, S.E.
 Plaintiff,                                  in 17-BK-3567 (LTS)

 v.

 Puerto Rico Highways and Transportation
 Authority, et al.
 Defendants.
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Omnibus Hearing - July 25, 2018
3:17-BK-3283 (LTS) / 3:18-AP-30 (LTS) / 3:18-AP-080 (LTS) / 3:18-AP-081 (LTS)

                                                     3:18-AP-080 (LTS)
 Hon. Ricardo Antonio Rosselló Nevares, et al.
 Plaintiffs,                                         in 17-BK-3283 (LTS)

 v.

 The Financial Oversight and Management
 Board for Puerto Rico, et al.
 Defendants.


                                                     3:18-AP-081 (LTS)
 Hon. Thomas Rivera Schatz, et al.
 Plaintiffs,                                         in 17-BK-3283 (LTS)

 v.

 The Financial Oversight and Management
 Board for Puerto Rico, et al.
 Defendants.



Omnibus Hearing held.

I.  Status Reports
        1. Status report from the Oversight Board heard.
        2. Response to questions regarding the joint status report filed in 3:18-AP-30 (LTS). [Docket
            Entry 66].
                 Order to be issued.
II. Contested Matters
        1. Creditors’ Committee’s Informative Motion re Renewed Rule 2004 Motion and Discovery
            Items. [Case No. 17-3283, ECF No. 3424]
                 Order to be issued.
        2. Independent Investigator’s Motion Establishing Certain Procedures in Connection with Final
            Report. [Case No. 17-3283, ECF No. 3427]
                 Counsel for the Independent Investigator to submit revised proposed order.
        3. Motion of Certain Secured Creditors of ERS for Relief from the Automatic Stay. [Case No. 17-
            3283, ECF No. 3418]
                 Final Hearing on the motion will be held on September 12, 2018.
                 Automatic stay will remain in place pending the holding of the Final Motion Hearing.
                 Order to be issued.
        4. Creditors’ Committee Motion to Clarify or Amend Fourth Amended Notice, Case Management
            and Administrative Procedures. [Case No. 17-3283, ECF No. 3432]
                 Proposed Re-stated Fifth Case Management Order to be submitted on presentment.

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     Afternoon Session:

     III. Adversary Proceedings
             1. Roselló Nevares et al. v. The Financial Oversight and Management Board for Puerto Rico, et
                 al., Case No. 18-ap-80 & Rivera - Schatz et al. v. Commonwealth of Puerto Rico, et al., Case
                 No. 18-ap-81
                       Motion to Dismiss Complaint [Case No. 18-ap-80, ECF No. 16]
                             • Matter taken under advisement.
                       Motion to Dismiss Complaint [Case No. 18-ap-81, ECF No. 26]
                             • Matter taken under advisement.
     IV. Adjourned Matters
             1. Committee’s Motion to Compel the Debtors to Comply with Interim Compensation Orders
                 [Case No. 17-3283, ECF No. 3604]
                       This matter has been adjourned.
             2. Report from the Fee Examiner regarding First Interim Applications for Compensation [Case
                 No. 17-3283, ECF No. 2645, 2909 and 3613]
                       This matter has been adjourned until the September 12, 2018 omnibus hearing.

                                     Applicant                          Docket No.                   Period
     1.          McKinsey & Company, Inc. Washington D.C.
                                                                            2073                 5/3/17 – 9/30/17
                 (Consulting Services Provider to FOMB)


               3. Report from the Fee Examiner regarding Second Interim Applications for Compensation. [Case
                  No. 17-3283, ECF No. 3193 and 3613]
                       This matter has been adjourned until the September 12, 2018 omnibus hearing.

                                       Applicant                                   Docket Nos.           Period
          Proskauer Rose LLP (Attorneys for FOMB, as representative of
1.                                                                                    2868          10/1/17 – 1/31/18
          Debtor Commonwealth)
          Proskauer Rose LLP (Attorneys for FOMB, as representative of
2.                                                                                    2870         10/1/17 – 12/31/17
          Debtor COFINA)
          Proskauer Rose LLP (Attorneys for FOMB, as representative of
3.                                                                                    2872          10/1/17 – 1/31/18
          Debtor ERS)
          Proskauer Rose LLP (Attorneys for FOMB, as representative of
4.                                                                                    2876          10/1/17 – 1/31/18
          Debtor PREPA)
          Proskauer Rose LLP (Attorneys for FOMB, as representative of
5.                                                                                    2874          10/1/17 – 1/31/18
          Debtor HTA)
          McKinsey & Company, Inc. Washington D.C. (Consulting Services
6.                                                                                    2756          10/1/17 – 1/31/18
          Provider to FOMB)
          Deloitte Financial Advisory Services LLP (Financial Advisors to the
7.                                                                                    3017         10/1/17 – 12/31/17
          Debtors)
8.        Luskin, Stern & Eisler LLP (Special Counsel to FOMB)                        2729          10/1/17 – 1/31/17



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                                    Applicant                                            Docket Nos.                Period
        Citigroup Global Markets Inc. (Investment Banker and Financial
9.                                                                                           2944              1/27/17 – 1/31/18
        Advisor to FOMB)*
10.     Andrew Wolfe (Independent Contractor to FOMB)                                        2718              10/1/17 – 1/31/18

11.     Ankura Consulting Group, LLC (Financial Advisors to AAFAF)                           2751              10/1/17 – 1/31/18

12.     Ankura Consulting Group, LLC (Financial Advisors to PREPA)                           2755              10/1/17 – 1/31/18
        Zolfo Cooper (Financial Advisor to the Official Committee of
13.                                                                                          2739              10/1/17 – 1/31/18
        Unsecured Creditors)
      *An asterisk next to a name denotes that this is the first interim application filed by the applicant.




                                                                                                  s/Carmen Tacoronte
                                                                                                  Carmen Tacoronte
                                                                                                  Courtroom Deputy




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